UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                  7/30/21
  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       The Government has moved for an order requiring David Markus to comply with Local

Criminal Rule 23.1 following an op-ed that he authored opining on the merits of this pending

case. Dkt. No. 309.

       Mr. Markus is plainly a lawyer associated with the defense in this case. His formal

representation has involved handling at least one pre-trial issue for Ms. Maxwell—in particular,

appeals to the Second Circuit of this Court’s bail-denial determinations. Dkt. No. 173; see also

United States v. Maxwell, Nos. 21-58-cr(L), 21-770-cr (2d Cir.). Beyond that, he has held

himself out as Ms. Maxwell’s attorney in press related to the current trial stage, including in the

op-ed at issue in the Government’s letter application, which describes him as “Maxwell’s

appellate counsel.” He has also attended a proceeding in this matter and spoken on Ms.

Maxwell’s behalf to the press afterwards while identified as Ms. Maxwell’s attorney. See

Stephen Rex Brown, Ghislaine Maxwell Makes First In-Person NYC Court Appearance, N.Y.

Daily News (Apr. 23, 2021), https://www.nydailynews.com/new-york/ny-ghislaine-maxwell-

arraignment-20210423-b3aza5eh7bddna7r247px2yb7e-story.html.

       Nevertheless Mr. Markus argues that he is not subject to Rule 23.1 because he does not

currently represent Ms. Maxwell in any proceedings and has not made an appearance in this

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Court. Dkt. No. 314. Rule 23.1 is not so superficial nor easily circumvented. Nothing in the

rule limits its application to lawyers who have formally noticed an appearance. To the contrary,

as the text throughout the rule makes clear, it applies to statements made by lawyers (and others)

“associated” with “pending or imminent criminal litigation.” S.D.N.Y. Local Criminal Rule

23.1(a) (last updated Oct. 29, 2018); see also Rule 23.1(b) (“a lawyer participating in or

associated with the investigation”); Rule 23.1(c) (“lawyer or law firm associated with the

prosecution or defense”). An attorney need not be of record in order to be sufficiently

“associated” with a case as to justify application of disciplinary rules regarding extrajudicial

statements. Lawyers who have not filed a formal notice of appearance may still possess

information that lends a perception by the public that their remarks on a pending case hold

greater authority. See In re Hinds, 449 A.2d 483, 496 (N.J. 1982); see also People v. Buttafuoco,

599 N.Y.S.2d 419 (Nassau Cty. Ct. 1993).

       Such is the case with Mr. Markus’s role in the pending matter. As noted, Mr. Markus has

attended a proceeding in this Court, after which he spoke to the press on Ms. Maxwell’s behalf.

He has represented Ms. Maxwell on appeals of this Court’s pre-trial bail determinations.

Moreover, Mr. Markus has identified himself as Ms. Maxwell’s appellate lawyer in a published

op-ed discussing his opinion of the merits of this case. These facts mean that the public, which

includes potential jurors, may perceive Mr. Markus as an authoritative source of information

regarding the pending matter and may readily consider his remarks to be accurate and reliable.

Mr. Markus is therefore ORDERED to comply with Local Criminal Rule 23.1.

       The Government does not ask the Court to discipline Mr. Markus based on his op-ed and

the Court declines to consider whether it violated Rule 23.1 given the potential lack of clarity

with respect to whether Mr. Markus was bound by the rule. The Court emphasizes that the rule



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provides illustrative examples of statements that “presumptively involve a substantial likelihood

that their public dissemination will interfere with a fair trial or otherwise prejudice the due

administration of justice within the meaning of the rule.” S.D.N.Y. Local Criminal Rule 23(d).

       Going forward, Mr. Markus and all lawyers associated with the pending case are now

clearly on notice that their conduct falls under the purview of Local Criminal Rule 23.1. Indeed,

the above concerns do not apply only to Mr. Markus. This Court has previously noted that

“counsel[,] agents for the parties and counsel for potential witnesses” must take care to “protect

the Defendant’s right to a fair trial by an impartial jury.” Dkt. No. 28. This Court is cognizant

that criminal matters heading toward trial are especially sensitive to extrajudicial statements. All

those associated with this case must act to ensure the case is tried solely in court or else they risk

being deemed responsible for any trial delay or for undermining the integrity of the upcoming

trial. See S.D.N.Y. Local Criminal Rule 23.1(h). In addition to the impact it could have on this

matter, failure to comply could also result in attorney discipline. Id. Rule 23.1(i).

       SO ORDERED.

 Dated: July 30, 2021
        New York, New York
                                                   ____________________________________
                                                             ALISON J. NATHAN
                                                           United States District Judge




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